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        September 15, 2021

        Judge Pamela K. Chen
        Courtroom: 4F
        Chambers: N 631
        225 Cadman Plaza East
        Brooklyn, New York 11201


     Re:             Carlos Collazos v. Garda CL Atlantic, Inc 21-cv-02095-PKC-JRC

     Dear Judge Chen:

        Pursuant to your Honor's Individual Practices and Rules, Rule 3(A) and Section 3 of the Federal
     Arbitration Act ("FAA"), Garda CL Atlantic, Inc. ("Garda") requests a pre-motion conference with Your
     Honor regarding its Motion to Compel Arbitration and Stay the Proceeding Pending Arbitration
     pertaining to the above referenced matter because Plaintiff is bound by the grievance and arbitration
     procedures set forth in the collective bargaining agreement between Garda and Plaintiff's Union.

I.   BACKGROUND

        Plaintiff, Carlos Collazos filed the above referenced putative class action Lawsuit against Garda,
     alleging multiple violations of New York Labor Laws which Garda removed to the Eastern District of
     New York. Garda is in the Investigation and Security Services Industry. Plaintiff was employed by Garda
     as a Driver/Messenger from approximately 2010 until the summer of 2018. During the time of his
     employment Plaintiff was a member of the United Federation of Special Police and Security Officers,
     Inc., Local 601 (the "Union"). Garda and the Union are signatories to a Labor Agreement, "entered into
     for the purpose of fixing the scale of wages, schedule of hours and general rules and regulations affecting
     employees . . ." See Labor Agreement, attached as Exhibit 1.

        Article 4 of the Labor Agreement, states the following, in relevant part:

                 (a) A grievance is defined as a condition that exists as a result of an unsatisfactory
                 response or adjustment or failure to adjust a legitimate controversy, claim or dispute
                 by an employee, shop steward or the Union concerning entitlement to
                 compensation, benefits, hours, or working herein, including without limitation,
                 claims of harassment or discrimination or hostile work environment in any form,
                 including without limitation, any claim based on sex, religion, national origin,
                 ethnicity, gender, disability, or perceived disability, or age, veteran or military


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                 status, or any claim of retaliation for making any such or similar claim, or the
                 interpretation or application of this Agreement or any agreement made
                 supplementary thereto, or any claim under any federal, state or local law, statute or
                 regulation or under any common law theory whether residing in contract, tort or
                 equity or any other claim related to or part of the employment relationship
                 ...
                 (d) The arbitrator shall be selected from a list of seven (7) provided by the Federal
                 Mediation and Conciliation Service or other agreed upon mediation and arbitration
                 service, within five (5) calendar days. . . after a panel has been presented to both
                 parties…
                 ...
                 (g) The Union and the Company agree to file and/or bring any grievance alleging
                 any statutory wage violation or discrimination claim on an individual bases only
                 and not on a class or collective basis on behalf of more than one (1) bargaining unit
                 employee, and any arbitrator selected to hear or resolve a grievance shall not have
                 the power or authority or jurisdiction to permit a class or collective basis arbitration
                 proceeding or render a decision on behalf of more than one (1) bargaining unit
                 employee, unless the Union, the concerned bargaining unit employees and the
                 Company otherwise consent in writing before the arbitration proceeding is
                 commenced.

      See Ex. 1, Article 4. Here, instead of filing his claim with an arbitrator, Plaintiff filed the instant Lawsuit,
      which was a clear disregard of the Labor Agreement. Not only did Plaintiff bypass the arbitration
      requirement, Plaintiff also ignored provision 4(g) proscribing class or collective actions. The Labor
      Agreement contains an arbitration provision that encompasses all of Plaintiff's claims against Garda and
      prohibits class actions. As such, Garda requests the Court grant it leave to file a Motion to Compel
      Arbitration of the claims stated in the Lawsuit and stay all the claims against Garda pending completion
      of the same.

II.   THE GRIEVANCE AND ARBITRATION PROVISION APPLIES                   TO   PLAINTIFF   AND   ALL   OF   PLAINTIFF'S
      CLAIMS ARE COVERED UNDER THE AGREEMENT

              The FAA establishes a “liberal federal policy favoring arbitration agreements.” CompuCredit
      Corp. v. Greenwood, 132 U.S. 665, 669 (2012) (quotations & citation omitted); see also AT&T Mobility
      LLC v. Concepcion, 131 U.S. 1740, 1745 (2011) (same); Gilmer v. Interstate/Johnson Lane Corp., 500
      U.S. 20, 25 (1991) (same). Section 4 of the FAA governs motions to compel arbitration and provides
      that “[a] party aggrieved by the alleged failure, neglect, or refusal of another to arbitrate under a written
      agreement for arbitration may petition any United States district court … for an order directing that such
      arbitration proceed in the manner provided for in such agreement.” 9 U.S.C. § 4.

              There is no room for “the exercise of discretion by a district court, but instead [the FAA]
      mandates that district courts shall direct the parties to proceed to arbitration on issues as to which an
      arbitration agreement has been signed.” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218




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(1985); CompuCredit Corp. v. Greenwood, 565 U.S. 95 (2012). Moreover, “any doubts concerning the
scope of arbitrable issues should be resolved in favor of arbitration,” regardless of the nature of the
disputed issue. Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983).

        When assessing a motion to compel arbitration, courts apply a two-part test to determine: (1)
whether the parties agreed to arbitrate; and (2) whether the parties' claims fall within the scope of the
agreement. JLM Indust. v. Stolt-Nielsen SA, 387 F.3d 163, 168 (2nd Cir. 2004). The party who tries to
avoid arbitration generally bears the burden of establishing that the arbitration agreement is
inapplicable. Harrington v. Atl. Sounding Co., 602 F.3d 113, 124 (2nd Cir. 2010). Here, both prongs of
the test weigh decidedly in favor of compelling arbitration. See Alfonso v. Maggies Paratransit Corp.,
203 F. Supp. 3d 244, 253 (E.D.N.Y. 2016)(the Court held Plaintiff's claims are subject to mandatory
arbitration); Shang Zhong Chen v. Kyoto Sushi, Inc., No. 15CV7398DLIJO, 2017 WL 4236556, at *7
(E.D.N.Y. 2017)(same); Cypress v. Cintas Corp. No. 2, No. 16CV2478ADSARL, 2017 WL 564492, at
*4 (E.D.N.Y. 2017)(same).

        First, upon commencement of his employment with Garda, and following designation of the
Union as his collective bargaining agent, Plaintiff unequivocally agreed to be bound by the terms of the
agreement negotiated on his behalf. See Pupiales v. Bldg. Mgmt. Co., No. 2012 Civ. 158098, 2014 WL
255711, at *1 (Sup. Ct. N.Y. Cty. 2014) (“[H]aving designated the union as [her] collective bargaining
agent, Plaintiff is bound by the terms of the agreement negotiated for and made on [her] behalf, including
the mandates set forth in the CBA's arbitration clause.”), aff'd, 126 A.D.3d 491 (1st Dep't 2015); Schacht
v. New York, 39 N.Y.2d 28, 32 (1976) (same). Accordingly, Plaintiff agreed to arbitrate the legal disputes
at issue here with Garda.

        Plaintiff's allegations of overtime violations, frequency of pay violations and timeliness of pay
violations, fall squarely within the scope of the Labor Agreement and therefore must be arbitrated. The
Grievance and Arbitration provision of the Labor Agreement specifically contemplates "claim[s] or
dispute[s] by any employee . . . concerning entitlement to compensation, benefits, hours or working
herein…" See Ex. 1, Article 4. Thus, this clause unequivocally encompasses Plaintiff's NYLL claims.
Salzano v. Lace Entm't, Inc., No. 13-CV-5600 (LGS), 2014 WL 3583195, at *2 (S.D.N.Y. Jul. 18, 2014)
(“FLSA and NYLL claims were not intended by the respective legislatures to be non-arbitrable.”).
Further, the Labor Agreement specifically proscribes class or collective actions. 1 Accordingly, Plaintiff's
claims are ripe for arbitration and must be brought on an individual basis. But both collective bargaining
agreements require arbitration of wage and hour claims, so Plaintiff’s claims are in the incorrect forum.


1
  The 2017 Labor Agreement (Exhibit 2) and the current Labor Agreement, contain nearly identical Grievance and
Arbitration Provisions. Although the 2017 Labor Agreement does not contain the class action waiver, its absence has no
impact here, as the current Labor Agreement controls. Smith/Enron Cogeneration Ltd. P'ship, Inc. v. Smith Cogeneration
Int'l, Inc., 198 F.3d 88, 98 (2d Cir. 1999) (arbitration clause covering claims “arising under or relating to” the agreement
encompassed claims pre-dating the arbitration clause); Duraku v. Tishman Speyer Props., Inc., 714 F. Supp. 2d 470, 474
(S.D.N.Y. 2010) (finding that although the agreement did not expressly state it applied retroactively, such failure did not
“relieve plaintiffs of their obligation to abide” by the alternative dispute resolution procedure.); Pontier v. U.H.O. Mgmt.
Corp., No. 10 CIV. 8828 RMB, 2011 WL 1346801, at *3 (S.D.N.Y. 2011) (same).




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       Pursuant to the above, Garda respectfully requests a pre-motion conference with Your Honor for
its Motion to Stay the Proceedings and Compel Arbitration because a valid and enforceable arbitration
provision exists and Plaintiff agreed to arbitrate all the claims at issue here.

  Sincerely yours,

  HOLLAND & KNIGHT LLP



By: /s/ Loren L. Forrest, Jr.
      Loren L. Forrest Jr.




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